             Case
             Case 22-30987
                  22-30987 Document
                           Document 205
                                    225 Filed
                                        Filed on 05/09/22
                                              in TXSB     in TXSB Page
                                                       on 05/09/22 Page 11 of
                                                                           of 28
                                                                              27
                                                                                                  United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                                                                                          May 09, 2022
                    IN THE UNITED STATES BANKRUPTCY COURT
                                                                                                       Nathan Ochsner, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    ION GEOPHYSICAL CORPORATION, et al.,1                         )   Case No. 22-30987 (MI)
                                                                  )
                              Debtors.                            )   (Jointly Administered)
                                                                  )



ORDER GRANTING DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) SETTING
   BAR DATES FOR FILING PROOFS OF CLAIM, INCLUDING REQUESTS FOR
     PAYMENT UNDER SECTION 503(B)(9), (II) ESTABLISHING AMENDED
     SCHEDULES BAR DATE AND REJECTION DAMAGES BAR DATE, (III)
  APPROVING THE FORM OF AND MANNER FOR FILING PROOFS OF CLAIM,
 INCLUDING SECTION 503(B)(9) REQUESTS, AND (IV) APPROVING NOTICE OF
                              BAR DATES

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Bar Date Order”), (a) establishing

deadlines for filing proofs of claim, including requests for payment under section 503(b)(9) of the

Bankruptcy Code, in these chapter 11 cases, (b) establishing the Amended Schedules Bar Date and

the Rejection Damages Bar Date (each as defined herein), (c) approving the form and manner for

filing such claims, including any section 503(b)(9) requests for payment, and (d) approving notice

of the Bar Dates (as defined herein), all as more fully set forth in the Motion; and this Court having

jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this Court having found that this is

a core proceeding pursuant to 28 U. S.C. § 157(b)(2); and this Court having found that it may



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

                                                          1
        Case
        Case 22-30987
             22-30987 Document
                      Document 205
                               225 Filed
                                   Filed on 05/09/22
                                         in TXSB     in TXSB Page
                                                  on 05/09/22 Page 22 of
                                                                      of 28
                                                                         27




entera final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion is in

the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

I.       The Bar Dates and Procedures for Filing Proofs of Claim.

         1.       Each entity3 that asserts a claim against the Debtors that arose before the Petition

Date, including requests for payment under section 503(b)(9) of the Bankruptcy Code, shall be

required to file an original, written proof of claim (a “Proof of Claim”), substantially in the form

attached hereto as Exhibit 1 (the “Proof of Claim Form”) or Official Form 410.4 Except in the

cases of governmental units and certain other exceptions explicitly set forth herein, all Proofs of

Claim must be filed so that they are actually received on or before June 21, 2022



3
  Except as otherwise defined herein and in the Motion all terms specifically defined in the Bankruptcy Code shall
have those meanings ascribed to them by the Bankruptcy Code. In particular, as used herein: (a) the term “claim” has
the meaning given to it in section 101(5) of the Bankruptcy Code; (b) the term “entity” (including individuals,
partnerships, corporations, joint ventures, and trusts) has the meaning given to it in section 101(15) of the Bankruptcy
Code; (c) the term “governmental unit” has the meaning given to it in section 101(27) of the Bankruptcy Code; and
(d) the term “person” has the meaning given to it in section 101(41) of the Bankruptcy Code.
4
  Copies of Official Form 410 may be obtained by: (a) calling the Debtors’ restructuring hotline at (855) 604-1746
(toll free) or +1 (503) 597- 7702 (international); (b) visiting the Debtors’ restructuring website at:
https://dm.epiq11.com/IONGeophysical and/or (c) visiting the website maintained by the Court at
http://ecf.txsb.uscourts.gov.

                                                           2
        Case 22-30987 Document 205
                               225 Filed on  05/09/22
                                         in TXSB      in TXSB Page 3 of 28
                                                  on 05/09/22           27




at 5:00 p.m., prevailing Central Time (the “Claims Bar Date”), at the addresses and in the

form set forth herein. The Claims Bar Date applies to all types of claims against the Debtors

that arose or are deemed to have arisen before the Petition Date, except for claims specifically

exempt from complying with the applicable Bar Dates (as defined herein) as set forth in the

Motion or this Bar Date Order.

        2.     Each employee and former employee of the Debtors and their non-Debtor affiliates

that asserts a claim against the Debtors that arose before the Petition Date is authorized to file a

Proof of Claim that redacts personally identifiable information. Such employees and former

employees that file a redacted Proof of Claim are required to serve an unredacted Proof of Claim

upon proposed counsel to the Debtors, Winston & Strawn LLP, 35 W. Wacker, Chicago, Illinois

60601, Attn: Daniel J. McGuire, Laura Krucks.

        3.     The Debtors are authorized to take reasonable action to prevent employees and

former employees’ personally identifiable information from being publicly available on the claims

register.

        4.     All governmental units holding claims (whether secured, unsecured priority, or

unsecured non-priority) that arose (or are deemed to have arisen) prior to the Petition Date,

including requests for payment pursuant to section 503(b)(9) of the Bankruptcy Code, must file

Proofs of Claims, including claims for unpaid taxes, whether such claims arise from prepetition

tax years or periods or prepetition transactions to which the Debtors were a party, so they

are actually received on or before October 11, 2022 at 5:00 p.m., prevailing Central Time

(the “Governmental Bar Date”), at the address and in the form set forth herein.

        5.     Unless otherwise ordered, all entities asserting claims arising from the Debtors’

rejection of executory contracts and unexpired leases shall file a Proof of Claim on account of such



                                                 3
       Case
       Case 22-30987
            22-30987 Document
                     Document 205
                              225 Filed
                                  Filed on 05/09/22
                                        in TXSB     in TXSB Page
                                                 on 05/09/22 Page 44 of
                                                                     of 28
                                                                        27




rejection by the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable and

(b) 5:00 p.m. prevailing Central Time on the date that is thirty (30) days following entry of the

order approving the Debtors’ rejection of the applicable executory contract or unexpired lease (the

“Rejection Damages Bar Date”).

       6.      If the Debtors amend the Schedules after having given notice of the Bar Dates (as

defined below), the Debtors shall give notice by first-class mail of any amendment to holders of

claims affected thereby, and, except for entities that are exempt from complying with the

applicable Bar Dates, as set forth in this Bar Date Order, the deadline for those holders to file

Proofs of Claim, if necessary, shall be the later of (a) the Claims Bar Date or the Governmental

Bar Date, as applicable, and (b) 5:00 p.m., prevailing Central Time, on the date that is thirty (30)

days from the date the notice of the Schedule amendment is mailed (the “Amended Schedules Bar

Date” and together with the Claims Bar Date, the Governmental Bar Date, and the Rejection

Damages Bar Date, as applicable, the “Bar Date” or “Bar Dates”).

       7.      All Proofs of Claim must be filed so as to be actually received by the Claims and

Administrative Agent on or before the applicable Bar Date. If Proofs of Claim are not received by

the Claims and Administrative Agent on or before the Claims Bar Date or the Governmental Bar

Date, as applicable, except in the case of certain exceptions explicitly set forth herein, the holders

of the underlying claims shall be barred from asserting such claims against the Debtors and

precluded from voting on any plans of reorganization filed in these chapter 11 cases and/or

receiving distributions from the Debtors on account of such claims in these chapter 11 cases.

II.    Parties Exempted from the Bar Date.

       8.      The following categories of claimants, in the capacities described below, shall not

be required to file a Proof of Claim by the Bar Date:



                                                  4
Case
Case 22-30987
     22-30987 Document
              Document 205
                       225 Filed
                           Filed on 05/09/22
                                 in TXSB     in TXSB Page
                                          on 05/09/22 Page 55 of
                                                              of 28
                                                                 27




      a.    the U.S. Trustee, on account of claims for fees payable pursuant to 28
            U.S.C. § 1930;

      b.    any entity that already has filed a signed Proof of Claim against the
            applicable Debtor with the Claims and Administrative Agent in a form
            substantially similar to Official Form 410;

      c.    any entity whose claim is listed on the Schedules if: (i) the claim is not
            scheduled by the Debtors as any of “disputed,” “contingent,” or
            “unliquidated;” (ii) such entity agrees with the amount, nature, and priority
            of the claim as set forth in the Schedules; and (iii) such entity does not
            dispute that its claim is an obligation only of the specific Debtor against
            which the claim is listed in the Schedules;

      d.    any entity whose claim has previously been allowed by a final order of the
            Court;

      e.    any Debtor having a claim against another Debtor;

      f.    any entity whose claim is solely against any non-Debtor affiliates;

      g.    any entity whose claim has been paid by a Debtor pursuant to a Court order;

      h.    a current employee of the Debtors, if an order of this Court authorized the
            Debtors to honor such claim in the ordinary course of business as a wage,
            commission, or benefit; provided that a current employee must submit a
            Proof of Claim by the Claims Bar Date for all other claims arising before
            the Petition Date, including claims for wrongful termination,
            discrimination, harassment, hostile work environment, and/or retaliation;

      i.    any current or former officer, manager, director, or employee for claims
            based on indemnification, contribution, or reimbursement;

      j.    any entity holding a claim for which a separate deadline is fixed by this
            Court;

      k.    any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
            the Bankruptcy Code as an expense of administration incurred in the
            ordinary course, provided that any entity asserting a claim entitled to
            priority under section 503(b)(9) of the Bankruptcy Code must assert such
            claims by filing a request for payment or a Proof of Claim on or prior to the
            Claims Bar Date;

      l.    any party that is exempt from filing a filing a Proof of Claim pursuant to an
            order of the Court in these chapter 11 cases, including, without limitation,
            pursuant to paragraph 37 of the Interim Order (A) Authorizing the Debtors
            to (I) Obtain Postpetition Financing, (II) Use Cash Collateral, (III) Grant
            Senior Secured Liens and Provide Claims with Superpriority Administrative

                                      5
       Case
       Case 22-30987
            22-30987 Document
                     Document 205
                              225 Filed
                                  Filed on 05/09/22
                                        in TXSB     in TXSB Page
                                                 on 05/09/22 Page 66 of
                                                                     of 28
                                                                        27




                     Expense Status, and (IV) Grant Adequate Protection to the Prepetition
                     Secured Parties, (B) Modifying the Automatic Stay, (C) Scheduling a Final
                     Hearing, and (D) Granting Related Relief [Docket No. 6 3 ] , and pursuant
                     to any final order approving the Debtors’ Emergency Motion for Entry of
                     Interim and Final Orders (A) Authorizing the Debtors to (I) Obtain
                     Postpetition Financing, (II) Use Cash Collateral, (III) Grant Senior
                     Secured Liens and Provide Claims with Superpriority Administrative
                     Expense Status, and (IV) Grant Adequate Protection to the Prepetition
                     Secured Parties, (B) Modifying the Automatic Stay, (C) Scheduling a Final
                     Hearing, and (D) Granting Related Relief [Docket No. 5]; and

              m.     any entity holding an equity interest in any Debtor, with respect to such
                     entity’s equity interest only.

III.   Substantive Requirements of Proofs of Claim.

       9.     The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

              a.     Contents. Each Proof of Claim must: (i) be written in legible English; (ii)
                     include a claim amount denominated in United States dollars; (iii) conform
                     substantially with the Proof of Claim Form provided by the Debtors or
                     Official Form 410; and (iv) be signed by the claimant or by an authorized
                     agent or legal representative of the claimant on behalf of the claimant,
                     whether such signature is an electronic signature or is ink.

              b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                     priority under section 503(b)(9) of the Bankruptcy Code must also: (i)
                     include the value of the goods delivered to and received by the Debtors in
                     the 20 days prior to the Petition Date; (ii) attach any documentation
                     identifying the particular invoices for which the 503(b)(9) claim is being
                     asserted; and (iii) attach documentation of any reclamation demand made
                     to the Debtors under section 546(c) of the Bankruptcy Code (if applicable).

              c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                     electronically by the claimant or an authorized agent or legal representative
                     of the claimant may be deemed acceptable for purposes of claims
                     administration. Copies of Proofs of Claim, or Proofs of Claim sent by
                     facsimile or electronic mail will not be accepted. Unless otherwise ordered
                     by the Court, any original document containing the original signature of any
                     party other than the party that files the Proof of Claim shall be retained by
                     the filing party for a period of not less than five (5) years after the Debtors’
                     cases are closed, and upon request, such original document must be
                     provided to the Court or other parties for review, pursuant to the
                     Administrative Procedures for the Filing, Signing, and Verifying of
                     Documents by Electronic Means in Texas Bankruptcy Courts.

                                                6
Case
Case 22-30987
     22-30987 Document
              Document 205
                       225 Filed
                           Filed on 05/09/22
                                 in TXSB     in TXSB Page
                                          on 05/09/22 Page 77 of
                                                              of 28
                                                                 27




      d.    Identification of the Debtor Entity. Each Proof of Claim must clearly
            identify the Debtor against which a claim is asserted, including the
            individual Debtor’s case number. A Proof of Claim filed under the joint
            administration case number (No. 22-30987) or otherwise without
            identifying a specific Debtor, will be deemed as filed only against ION
            Geophysical Corporation.

      e.    Claim Against Multiple Debtor Entities. Each Proof of Claim must state a
            claim against only one Debtor and clearly indicate the Debtor against which
            the claim is asserted. To the extent more than one Debtor is listed on the
            Proof of Claim, such claim may be treated as if filed only against ION
            Geophysical Corporation.

      f.    Supporting Documentation. To constitute a prima facie valid claim, each
            Proof of Claim must include supporting documentation in accordance with
            Bankruptcy Rules 3001(c) and 3001(d). If, however, such documentation is
            voluminous, upon prior written consent of the Debtors’ counsel, such
            Proof of Claim may include a summary of such documentation or an
            explanation as to why such documentation is not available; provided that
            any creditor that received such written consent shall be required to transmit
            such writings to Debtors’ counsel upon request no later than 10 days from
            the date of such request.

      g.    Timely Service. Each Proof of Claim must be filed, including supporting
            documentation, by either (i) electronic submission through PACER (Public
            Access to Court Electronic Records at http://ecf.txsb.uscourts.gov), (ii)
            electronic submission using the interface available on the Claims and
            Administrative Agent’s website at https://dm.epiq11.com/IONGeophysical,
            or (iii) if submitted through non-electronic means, by U.S. Mail or other
            hand delivery system, so as to be actually received by the Claims and
            Administrative Agent on or before the Claims Bar Date or the
            Governmental Bar Date, or other applicable Bar Date, at the following
            addresses:
                                       If by First-Class Mail:
                                 ION Geophysical Corporation, et al.
                                      Claims Processing Center
                                  c/o Epiq Corporate Restructuring
                                            P.O. Box 4421
                                     Beaverton, OR 97076-4421

                           If by Hand Delivery and Overnight Mail:
                               ION Geophysical Corporation, et al.
                                     Claims Processing Center
                                 c/o Epiq Corporate Restructuring
                                    10300 SW Allen Boulevard
                                      Beaverton, OR 97005


                                      7
       Case
       Case 22-30987
            22-30987 Document
                     Document 205
                              225 Filed
                                  Filed on 05/09/22
                                        in TXSB     in TXSB Page
                                                 on 05/09/22 Page 88 of
                                                                     of 28
                                                                        27




                h.      Receipt of Sendee. Claimants submitting a Proof of Claim through non-
                        electronic means wishing to receive acknowledgment that their Proofs of
                        Claim were received by the Claims and Administrative Agent must submit
                        (i) a copy of the Proof of Claim Form (in addition to the original Proof of
                        Claim Form sent to the Claims and Administrative Agent), and (ii) a self-
                        addressed, stamped envelope.

IV.     Identification of Known Creditors.

        10.     The Debtors shall mail notice of the Claims Bar Date (or the Governmental Bar

Date, as applicable) only to their known creditors, and such mailing shall be made to the last known

mailing address for each such creditor, as reflected in the Debtors’ books and records at such time.

V.      Procedures for Providing Notice of the Bar Date.

        A.      Mailing of Bar Date Notices.

        11.     No later than three (3) business days after entry of the Bar Date Order, the Debtors

shall cause a written notice of the Bar Dates, substantially in the form attached hereto as Exhibit 2

(the “Bar Date Notice”) and a Proof of Claim Form (together, the “Bar Date Package”) to be mailed

via first-class mail to the following entities:

                a.      the U.S. Trustee for the Southern District of Texas;

                b.      the entities listed as holding the 30 largest unsecured claims against the
                        Debtors (on a consolidated basis);

                c.      Ropes & Gray LLP, as counsel to (i) the lenders providing the debtor-in-
                        possession financing facility and (ii) the ad hoc group of prepetition first
                        and second lien lenders;

                d.      all creditors and other known holders of claims against the Debtors as of the
                        date of entry of the Bar Date Order, including all entities listed in the
                        Schedules as holding claims against the Debtors;

                e.      all entities that have requested notice of the proceedings in these chapter 11
                        cases pursuant to Bankruptcy Rule 2002 as of the date of the Bar Date
                        Order;

                f.      all entities that have filed Proofs of Claim in these chapter 11 cases as of
                        the date of the Bar Date Order;



                                                  8
       Case
       Case 22-30987
            22-30987 Document
                     Document 205
                              225 Filed
                                  Filed on 05/09/22
                                        in TXSB     in TXSB Page
                                                 on 05/09/22 Page 99 of
                                                                     of 28
                                                                        27




               g.      all known non-Debtor equity and interest holders of the Debtors as of the
                       date the Bar Date Order is entered;

               h.      all entities who are a party to executory contracts and unexpired leases with
                       the Debtors;

               i.      all entities who are a party to active litigation with the Debtors;

               j.      all current and former employees (to the extent that contact information for
                       former employees is available in the Debtors’ records);

               k.      all regulatory authorities that regulate the Debtors’ business, including
                       environmental and permitting authorities;

               l.      the Offices of the Attorney General for each of the states in which the
                       Debtors operate;

               m.      the District Director of the Internal Revenue Service for the Southern
                       District of Texas;

               n.      all other taxing authorities for the jurisdictions in which the Debtors
                       maintain or conduct business;

               o.      the United States Securities and Exchange Commission; and

               p.      the Office of the United States Attorney for the Southern District of Texas.

       12.     The Debtors shall provide all known creditors listed in the Debtors’ Schedules with

a personalized Proof of Claim Form, which will set forth: (a) the identity of the Debtor against

which the creditor’s claim is scheduled; (b) the amount of the scheduled claim, if any; (c) whether

the claim is listed as contingent, unliquidated, or disputed; and (d) whether the claim is listed as

secured, unsecured priority, or unsecured non-priority. Each creditor shall have an opportunity to

inspect the Proof of Claim Form provided by the Debtors and correct any information that is

missing, incorrect, or incomplete. Any creditor may choose to submit a Proof of Claim on a

different form as long as it is substantially similar to Official Form 410.

       13.     After the initial mailing of the Bar Date Packages, the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that: (a)

notices are returned by the post office with forwarding addresses; (b) certain parties acting on

                                                  9
      Case
      Case 22-30987
           22-30987 Document
                    Document 205
                             225 Filed
                                 Filed on 05/09/22
                                       in TXSB     in TXSB Page
                                                on 05/09/22 Page 10
                                                                 10 of
                                                                    of 28
                                                                       27




behalf of parties in interest decline to pass along notices to these parties and instead return their

names and addresses to the Debtors for direct mailing; and (c) additional potential claimants

become known as the result of the Bar Date mailing process. In this regard, the Debtors may make

supplemental mailings of the Bar Date Package in these and similar circumstances at any time up

to fourteen (14) days in advance of the applicable Bar Date, with any such mailings being deemed

timely and the Bar Date being applicable to the recipient creditors.

       B.      Publication of Bar Date Notice.

       14.     The Debtors shall cause notice of the Claims Bar Date and the Governmental Bar

Date to be given by publication to creditors to whom notice by mail is impracticable, including

creditors who are unknown or not reasonably ascertainable by the Debtors and creditors whose

identities are known but whose addresses are unknown by the Debtors. Specifically, the Debtors

shall cause the Bar Date Notice to be published as soon as reasonably practicable after entry of the

Bar Date Order, modified for publication in substantially the form annexed hereto as Exhibit 3

(the “Publication Notice”), on one occasion in the national edition of the New York Times and any

such other local publications that the Debtors deem appropriate and disclose in their Affidavit of

Service.

       15.     Notice of the Bar Dates as set forth in this Order and in the manner set forth herein

(including, but not limited to, the Bar Date Notice, the Publication Notice, and any supplemental

notices that the Debtors may send from time to time) constitutes adequate and sufficient notice of

each of the Bar Dates and satisfies the requirements of the Bankruptcy Code, the Bankruptcy

Rules, and the Bankruptcy Local Rules.

VI.    Consequences of Failure to File a Proof of Claim.

       16.     Any entity that is required, but fails, to file a Proof of Claim in accordance with the

Bar Date Order on or before the applicable Bar Date shall be forever barred, estopped, and enjoined

                                                 10
            Case
            Case 22-30987
                 22-30987 Document
                          Document 205
                                   225 Filed
                                       Filed on 05/09/22
                                             in TXSB     in TXSB Page
                                                      on 05/09/22 Page 11
                                                                       11 of
                                                                          of 28
                                                                             27




   from asserting such claim against the Debtors (or filing a Proof of Claim with respect thereto), and

   the Debtors and their property shall be forever discharged from any and all indebtedness or liability

   with respect to or arising from such claim. Without limiting the foregoing sentence, any creditor

   asserting a claim entitled to priority pursuant to section 503(b)(9) of the Bankruptcy Code that fails

   to file a Proof of Claim in accordance with this Bar Date Order shall not be entitled to any priority

   treatment on account of such claim pursuant to section 503(b)(9) of the Bankruptcy Code,

   regardless of whether such claim is identified on Schedule F of the Schedules as not contingent,

   not disputed, and liquidated.

            17.   Any such entity that is required, but fails, to file a Proof of Claim in accordance

   with the Bar Date Order on or before the applicable Bar Date shall be prohibited from voting to

   accept or reject any chapter 11 plan filed in these chapter 11 cases, participating in any distribution

   in these chapter 11 cases on account of such claim, or receiving further notices regarding such

   claim.

   VII.     Miscellaneous.

            18.   The Debtors are authorized to take all actions necessary or appropriate to effectuate

   the relief granted pursuant to this Bar Date Order in accordance with the Motion.

            19.   The terms and conditions of this Bar Date Order shall be immediately effective and

   enforceable upon entry of the Bar Date Order.

            20.   All time periods set forth in this Bar Date Order shall be calculated in accordance

   with Bankruptcy Rule 9006(a).

            21.   This Court retains exclusive jurisdiction with respect to all matters arising from or

   related to the implementation, interpretation, and enforcement of this Bar Date Order.


Signed: May 09, 2022
        October 17, 2018

                                                      ____________________________________
                                                     11             Marvin Isgur
                                                          United States Bankruptcy Judge
Case
Case 22-30987
     22-30987 Document
              Document 205
                       225 Filed
                           Filed on 05/09/22
                                 in TXSB     in TXSB Page
                                          on 05/09/22 Page 13
                                                           12 of
                                                              of 28
                                                                 27




                             Exhibit 1

                        Proof of Claim Form
                    Case    22-30987
                    CaseCourt
 United States Bankruptcy       for SouthernDocument
                            22-30987        Document        205
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                                                                               Filed on 05/09/22
                                                                                     in TXSB     in TXSB Page
                                                                                              on 05/09/22 Page 14
                                                                                                               13 of
                                                                                                                  of 28
                                                                                                                     27
 ION Geophysical Corporation Claims Processing Center
 c/o Epiq Corporate Restructuring, LLC
 P.O. Box 4421
 Beaverton, OR 97076-4421
 Name of Debtor:        [Debtor Name]
 Case Number:           [Debtor Case No]
                                                                                                        For Court Use Only
                                                                                       Check box if
                                                                                   the address on
                                                                                   the envelope
                                                                                   sent to you by
                                                                                   the court needs
                                                                                   to be updated.
                                                                                   Identify your
                                                                                   replacement
                                                                                   address in Part 1
                                                                                   (Section 3)
                                                                                   below.


 Proof of Claim (Official Form 410)                                                                                                                04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. With the exception of claims
under 503(b)(9), do not use this form to make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.
Part 1:      Identify the Claim
1. Who is the current creditor?
Name of the current creditor (the person or entity to be paid for this claim): _______________________________________________________________________

Other names the creditor used with the debtor: _______________________________________________________________________________________________

2.   Has this claim been acquired from someone else?       □ No □ Yes.        From whom? ___________________________________________________________
3.   Where should notices and payments to the creditor be sent? Federal Rule of Bankruptcy Procedure (FRBP) 2002(g)             4. Does this claim amend one already filed?

Where should notices to the creditor be sent?                      Where should payments to the creditor be sent?               □ No
                                                                   (if different)
                                                                                                                                □ Yes.       Claim number on court
__________________________________________________                 ______________________________________________               claims register (if known) _______________
Name                                                               Name
                                                                                                                                Filed on _____________________________
__________________________________________________                 ______________________________________________                              MM / DD / YYYY
Number     Street                                                  Number     Street
                                                                                                                                5. Do you know if anyone else has filed a
__________________________________________________                 ______________________________________________
                                                                                                                                proof of claim for this claim?
City                 State        ZIP Code                         City                 State        ZIP Code
                                                                                                                                □ No
Country (if International): _____________________________          Country (if International): _________________________
                                                                                                                                □ Yes.      Who made the earlier filing?
Contact phone: _____________________________________               Contact phone: _________________________________
                                                                                                                                 ____________________________________
Contact email: _____________________________________               Contact email: _________________________________
Part 2:      Give Information About the Claim as of the Date the Case Was Filed
6. Do you have any number you use to            7. How much is the claim?                              8. What is the basis of the claim?
   identify the debtor?
□ No                                            $________________________________________.
                                                                                                       Examples: Goods sold, money loaned, lease, services performed,
                                                                                                       personal injury or wrongful death, or credit card. Attach redacted
□ Yes.                                          Does this amount include interest or other
                                                                                                       copies of any documents supporting the claim required by Bankruptcy
Last 4 digits of the debtor’s account or any                                                           Rule 3001(c). Limit disclosing information that is entitled to privacy,
                                                charges?
number you use to identify the debtor:                                                                 such as health care information.
                                                □ No
     ____ ____ ____ ___                         □ Yes.   Attach statement itemizing interest, fees,
                                                                                                       _________________________________________________________
                                                         expenses, or other charges required by
                                                         Bankruptcy Rule 3001(c)(2)(A).
                           Case
                           Case
9. Is all or part of the claim     22-30987
                                    22-30987
                               secured?              Document
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                                                                       Filed
                                                               10. Is this      in  05/09/22
                                                                                    TXSB
                                                                                 based             in TXSB
                                                                                              on 05/09/22
                                                                                       on a lease?                 Page
                                                                                                                    Page
                                                                                                       11. Is this claim    15
                                                                                                                             14toof
                                                                                                                         subject      28
                                                                                                                                 ofa right
                                                                                                                                      27 of setoff?
□ No                                                                     □ No                                        □ No
□ Yes.    The claim is secured by a lien on property.
                                                                         □ Yes. Amount necessary to cure             □ Yes. Identify the property:
                                                                         any default as of the date of petition.
Nature of property:
                                                                                                                      ___________________________________________
□ Real estate. If the claim is secured by the debtor’s principal         $_____________________________
residence, file a Mortgage Proof of Claim Attachment (official Form      12. Is all or part of the claim entitled to priority         A claim may be partly priority and
410-A) with this Proof of Claim.                                             under 11 U.S.C. § 507(a)?                                partly nonpriority. For example, in
                                                                                                                                      some categories, the law limits the
□ Motor vehicle                                                          □   No
                                                                                                                                      amount entitled to priority.

□ Other. Describe: ______________________________________                □ Yes. Check one:                                              Amount entitled to priority
_______________________________________________________
Basis for perfection: _____________________________________
                                                                         □ Domestic support obligations (including alimony and          $_____________________
                                                                         child support) under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
_______________________________________________________
Attach redacted copies of documents, if any, that show evidence of       □ Up to $3,350* of deposits toward purchase, lease, or         $_____________________
perfection of security interest (for example, a mortgage, lien,          rental of property or services for personal, family, or
certificate of title, financing statement, or other document that        household use. 11 U.S.C. § 507(a)(7).
shows the lien has been filed or recorded.)
                                                                         □ Wages, salaries, or commissions (up to $15,150*)             $_____________________
Value of property:                       $_____________________          earned within 180 days before the bankruptcy petition is
                                                                         filed or the debtor’s business ends, whichever is earlier.
Amount of the claim that is secured:     $_____________________          11 U.S.C. § 507(a)(4).                                         $_____________________

Amount of the claim that is unsecured: $_____________________
                                                                         □ Taxes or penalties owed to governmental units.
                                                                         11 U.S.C. § 507(a)(8).
(The sum of the secured and unsecured amounts should match the                                                                          $_____________________
amount in line 7.)                                                        □ Contributions to an employee benefit plan. 11 U.S.C. §
                                                                          507(a)(5).
Amount necessary to cure any                                                                                                            $_____________________
default as of the date of the petition: $_____________________            □ Other. Specify subsection of 11 U.S.C. § 507 (a)(__)
                                                                         that applies.
Annual Interest Rate (when case was filed)       ______________%         * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or
                                                                         after the date of adjustment.
                                             □ Fixed     □
                                                         Variable
13. Does this claim qualify as an Administrative Expense under 11 U.S.C. § 503(b)(9)?
□ No
□ Yes. Amount that qualifies as an Administrative Expense under 11 U.S.C. § 503(b)(9): $_____________________________
Part 3:      Sign Below
The person completing          Check the appropriate box:
this proof of claim must
sign and date it. FRBP
                               □   I am the creditor.

9011(b).                       □   I am the creditor’s attorney or authorized agent.
                               □   I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
If you file this claim
electronically, FRBP
                               □   I am a guarantor, surety, endorser, or other co-debtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the amount of the claim,
courts to establish local      the creditor gave the debtor credit for any payments received toward the debt.
rules specifying what a
signature is.                  I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
                               I declare under penalty of perjury that the foregoing is true and correct.
A person who files a
fraudulent claim could be
fined up to $500,000,          Executed on date         __________________        ____________________________________________________________
imprisoned for up to 5                                    MM / DD / YYYY           Signature
years, or both. 18 U.S.C.
§§ 152, 157, and 3571.         Print the name of the person who is completing and signing this claim:

                               Name       ____________________________________________________________________________________________
                                          First name                 Middle name                Last name

                               Title      ____________________________________________________________________________________________

                               Company ____________________________________________________________________________________________
                                       Identify the corporate servicer as the company if the authorized agent is a servicer.

                               Address    ____________________________________________________________________________________________
                                          Number            Street

                                          ____________________________________________________________________________________________
                                          City                                         State             ZIP Code

                               Contact Phone _____________________________________                 Email __________________________________________
Case
Case 22-30987
     22-30987 Document
              Document 205
                       225 Filed
                           Filed on 05/09/22
                                 in TXSB     in TXSB Page
                                          on 05/09/22 Page 16
                                                           15 of
                                                              of 28
                                                                 27




                             Exhibit 2

                      Proposed Bar Date Notice




                                13
          Case
          Case 22-30987
               22-30987 Document
                        Document 205
                                 225 Filed
                                     Filed on 05/09/22
                                           in TXSB     in TXSB Page
                                                    on 05/09/22 Page 17
                                                                     16 of
                                                                        of 28
                                                                           27




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION
                                                                   )
    In re:                                                         )   Chapter 11
                                                                   )
    ION GEOPHYSICAL CORPORATION, et al.,1                          )   Case No. 22-30987 (MI)
                                                                   )
                              Debtors.                             )   (Joint Administration Requested)
                                                                   )


                    NOTICE OF DEADLINES FOR THE FILING OF
               PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
              PURSUANT TO SECTION 503(B)(9) OF THE BANKRUPTCY CODE


TO:          ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY
             OF THE FOLLOWING DEBTOR ENTITIES:
                      DEBTOR                                                    CASE NO.
ION Geophysical Corporation                                                     22-30987
I/O Marine Systems, Inc.                                                        22-90029
ION Exploration Products (U.S.A.), Inc.                                         22-90031
GX Technology Corporation                                                       22-90030


PLEASE TAKE NOTICE THAT:

         On April 12, 2022 (the “Petition Date”), ION Geophysical Corporation, and certain of its
affiliates, as debtors and debtors in possession (collectively, the “Debtors”) filed voluntary
petitions for relief under chapter 11 of the United States Code (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the Southern District of Texas (the “Court”).

        On [____], 2022, the Court entered an order [Docket No. [___]] the (“Bar Date Order”)2
establishing certain dates by which parties holding prepetition claims against the Debtors must file
proofs of claim, including requests for payment pursuant to section 503(b)(9) of the Bankruptcy
Code (“Proofs of Claim”).

       For your convenience, enclosed with this notice (this “Notice”) is a Proof of Claim form,
which identifies on its face the amount, nature, and classification of your claim(s), if any, listed in

1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bar Date Order.
      Case
      Case 22-30987
           22-30987 Document
                    Document 205
                             225 Filed
                                 Filed on 05/09/22
                                       in TXSB     in TXSB Page
                                                on 05/09/22 Page 18
                                                                 17 of
                                                                    of 28
                                                                       27




the Debtors’ schedules of liabilities filed in these cases (the “Schedules”). If the Debtors believe
that you hold claims against more than one Debtor, you will receive multiple Proof of Claim forms,
each of which will reflect the nature and amount of your claim as listed in the Schedules.

        As used in this Notice, the term “entity” has the meaning given to it in section 101(15) of
the Bankruptcy Code, and includes all persons, estates, trusts, governmental units, and the Office
of the United States Trustee for the Southern District of Texas. In addition, the terms “persons”
and “governmental units” are defined in sections 101(41) and 101(27) of the Bankruptcy Code,
respectively.

        As used in this Notice, the term “claim” means, as to or against the Debtors and in
accordance with section 101(5) of the Bankruptcy Code: (a) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured,
disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an equitable
remedy for breach of performance if such breach gives rise to a right to payment, whether or not
such right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
disputed, undisputed, secured, or unsecured.

I.     THE BAR DATES

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (collectively the “Bar Dates”).

               a.      The Claims Bar Date. Pursuant to the Bar Date Order, except as described
                       below, all entities (except governmental units) holding claims against the
                       Debtors that arose or are deemed to have arisen prior to the commencement
                       of these cases on the Petition Date, including requests for payment
                       pursuant to section 503(b)(9), are required to file Proofs of Claim by forty
                       (40) days after entry of the Bar Date Order, at 5:00 p.m., prevailing
                       Central Time. Except as expressly set forth in this Notice and the Bar Date
                       Order, the Claims Bar Date applies to all types of claims against the Debtors
                       that arose prior to the Petition Date, including secured claims, unsecured
                       priority claims, and unsecured nonpriority claims.

               b.      The Governmental Bar Date. Pursuant to the Bar Date Order, all
                       governmental units holding claims against the Debtors that arose or are
                       deemed to have arisen prior to the commencement of these cases on the
                       Petition Date are required to file Proofs of Claim by the Governmental
                       Bar Date (i.e., by October 10, 2022, at 5:00 p.m., prevailing Central Time).
                       The Governmental Bar Date applies to all governmental units holding
                       claims against the Debtors (whether secured, unsecured priority, or
                       unsecured non-priority) that arose prior to the Petition Date, including
                       governmental units with claims against the Debtors for unpaid taxes,
                       whether such claims arise from prepetition tax years or periods or
                       prepetition transactions to which the Debtors were a party.




                                                15
      Case
      Case 22-30987
           22-30987 Document
                    Document 205
                             225 Filed
                                 Filed on 05/09/22
                                       in TXSB     in TXSB Page
                                                on 05/09/22 Page 19
                                                                 18 of
                                                                    of 28
                                                                       27




               c.     The Rejection Damages Bar Date. Pursuant to the Bar Date Order, all
                      entities holding claims arising from the Debtors’ rejection of executory
                      contracts and unexpired leases are required to file Proofs of Claim by the
                      Rejection Damages Bar Date, (i.e., by the date that is the later of (a) the
                      Claims Bar Date or the Governmental Bar Date, as applicable, and (b)
                      5:00 p.m., prevailing Central Time, on the date that is thirty (30) days
                      following entry of the order approving the rejection of the applicable
                      executory contract or unexpired lease of the Debtors).

               d.     Amended Schedules Bar Date. Pursuant to the Bar Date Order, all entities
                      holding claims affected by the amendment to the Debtors’ Schedules are
                      required to file Proofs of Claim by the Amended Schedules Bar Date (i.e.,
                      by the date that is the later of (a) the Claims Bar Date or the Governmental
                      Bar Date, as applicable, and (b) 5:00 p.m., prevailing Central Time, on
                      the date that is thirty (30) days from the date on which the Debtors mail
                      notice of the amendment to the Schedules).

II.    WHO MUST FILE A PROOF OF CLAIM

        Except as otherwise set forth herein, the following entities holding claims against the
Debtors that arose (or that are deemed to have arisen) prior to the Petition Date must file Proofs
of Claim on or before the Claims Bar Date, Governmental Bar Date, or any other bar date set forth
in the Bar Date Order, as applicable:

               a.     any entity whose claim against a Debtor is not listed in the applicable
                      Debtor’s Schedules or is listed as contingent, unliquidated, or disputed if
                      such entity desires to participate in any of these chapter 11 cases or share in
                      any distribution in any of these chapter 11 cases;

               b.     any entity who believes that its claim is improperly classified in the
                      Schedules or is listed in an incorrect amount and who desires to have its
                      claim allowed in a different classification or amount other than that
                      identified in the Schedules;

               c.     any former or present full-time, part-time, salaried, or hourly employees
                      must submit Proofs of Claim relating to any grievance prior to the Claims
                      Bar Date to the extent grounds for such grievances arose on or prior to the
                      Petition Date;

               d.     any entity that believes that its prepetition claim as listed in the Schedules
                      is not an obligation of the specific Debtor against which the claim is listed
                      and that desires to have its claim allowed against a Debtor other than that
                      identified in the Schedules; and

               e.     any entity who believes that its claim against a Debtor is or may be an
                      administrative expense pursuant to section 503(b)(9) of the Bankruptcy
                      Code.



                                                16
       Case
       Case 22-30987
            22-30987 Document
                     Document 205
                              225 Filed
                                  Filed on 05/09/22
                                        in TXSB     in TXSB Page
                                                 on 05/09/22 Page 20
                                                                  19 of
                                                                     of 28
                                                                        27




III.   PARTIES WHO DO NOT NEED TO FILE PROOFS OF CLAIM

        Certain parties are not required to file Proofs of Claim. The Court may, however, enter one
or more separate orders at a later time requiring creditors to file Proofs of Claim for some kinds of
the following claims and setting related deadlines. If the Court does enter such an order, you will
receive notice of it. The following entities holding claims that would otherwise be subject to the
Bar Dates, in the capacities described below, need not file Proofs of Claims:

               a.      the U.S. Trustee, on account of claims for fees payable pursuant to 28U.S.C.
                       § 1930;

               b.      any entity that already has filed a signed Proof of Claim against the
                       applicable Debtor with the Claims and Administrative Agent in a form
                       substantially similar to Official Form 410;

               c.      any entity whose claim is listed on the Schedules if: (i) the claim is not
                       scheduled by the Debtors as any of “disputed,” “contingent,” or
                       “unliquidated;” (ii) such entity agrees with the amount, nature, and priority
                       of the claim as set forth in the Schedules; and (iii) such entity does not
                       dispute that its claim is an obligation only of the specific Debtor against
                       which the claim is listed in the Schedules;

               d.      any entity whose claim has previously been allowed by a final order of the
                       Court;

               e.      any Debtor having a claim against another Debtor;

               f.      any entity whose claim is solely against any non-Debtor affiliates;

               g.      any entity whose claim has been paid by a Debtor pursuant to a Court order;

               h.      a current employee of the Debtors, if an order of this Court authorized the
                       Debtors to honor such claim in the ordinary course of business as a wage,
                       commission, or benefit; provided that a current employee must submit a
                       Proof of Claim by the Claims Bar Date for all other claims arising before
                       the Petition Date, including claims for wrongful termination,
                       discrimination, harassment, hostile work environment, and/or retaliation;

               i.      any current or former officer, manager, director, or employee for claims
                       based on indemnification, contribution, or reimbursement;

               j.      any entity holding a claim for which a separate deadline is fixed by this
                       Court;

               k.      any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
                       the Bankruptcy Code as an expense of administration incurred in the
                       ordinary course, provided that any entity asserting a claim entitled to
                       priority under section 503(b)(9) of the Bankruptcy Code must assert such


                                                 17
      Case
      Case 22-30987
           22-30987 Document
                    Document 205
                             225 Filed
                                 Filed on 05/09/22
                                       in TXSB     in TXSB Page
                                                on 05/09/22 Page 21
                                                                 20 of
                                                                    of 28
                                                                       27




                       claims by filing a request for payment or a Proof of Claim on or prior to the
                       Claims Bar Date;

                l.     any party that is exempt from filing a filing a Proof of Claim pursuant to an
                       order of the Court in these chapter 11 cases, including, without limitation,
                       pursuant to paragraph 37 of the Interim Order (A) Authorizing the Debtors
                       to (I) Obtain Postpetition Financing, (II) Use Cash Collateral, (III) Grant
                       Senior Secured Liens and Provide Claims with Superpriority Administrative
                       Expense Status, and (IV) Grant Adequate Protection to the Prepetition
                       Secured Parties, (B) Modifying the Automatic Stay, (C) Scheduling a Final
                       Hearing, and (D) Granting Related Relief [Docket No. 6 3 ] , and pursuant
                       to any final order approving the Debtors’ Emergency Motion for Entry of
                       Interim and Final Orders (A) Authorizing the Debtors to (I) Obtain
                       Postpetition Financing, (II) Use Cash Collateral, (III) Grant Senior
                       Secured Liens and Provide Claims with Superpriority Administrative
                       Expense Status, and (IV) Grant Adequate Protection to the Prepetition
                       Secured Parties, (B) Modifying the Automatic Stay, (C) Scheduling a Final
                       Hearing, and (D) Granting Related Relief [Docket No. 5]; and

                m.     any entity holding an equity interest in any Debtor, with respect to such
                       entity’s equity interest only.

IV.      INSTRUCTIONS FOR FILING PROOFS OF CLAIM

         The following requirements shall apply with respect to filing and preparing each Proof of
Claim:

                a.     Contents. Each Proof of Claim must: (i) be written in legible English; (ii)
                       include a claim amount denominated in United States dollars; (iii) conform
                       substantially with the Proof of Claim Form provided by the Debtors or
                       Official Form 410; and (iv) be signed by the claimant or by an authorized
                       agent or legal representative of the claimant on behalf of the claimant,
                       whether such signature is an electronic signature or is ink.

                b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                       priority under section 503(b)(9) of the Bankruptcy Code must also: (i)
                       include the value of the goods delivered to and received by the Debtors in
                       the twenty (20) days prior to the Petition Date; (ii) attach any documentation
                       identifying the particular invoices for which the 503(b)(9) claim is being
                       asserted; and (iii) attach documentation of any reclamation demand made
                       to the Debtors under section 546(c) of the Bankruptcy Code (if applicable).

                c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                       electronically by the claimant or an authorized agent or legal representative
                       of the claimant may be deemed acceptable for purposes of claims
                       administration. Copies of Proofs of Claim, or Proofs of Claim sent by
                       facsimile or electronic mail will not be accepted. Unless otherwise ordered



                                                 18
Case
Case 22-30987
     22-30987 Document
              Document 205
                       225 Filed
                           Filed on 05/09/22
                                 in TXSB     in TXSB Page
                                          on 05/09/22 Page 22
                                                           21 of
                                                              of 28
                                                                 27




            by the Court, any original document containing the original signature of any
            party other than the party that files the Proof of Claim shall be retained by
            the filing party for a period of not less than five (5) years after the Debtors’
            cases are closed, and upon request, such original document must be
            provided to the Court or other parties for review, pursuant to the
            Administrative Procedures for the Filing, Signing, and Verifying of
            Documents by Electronic Means in Texas Bankruptcy Courts.

      d.    Identification of the Debtor Entity. Each Proof of Claim must clearly
            identify the Debtor against which a claim is asserted, including the
            individual Debtor’s case number. A Proof of Claim filed under the joint
            administration case number (No. 22-30987) or otherwise without
            identifying a specific Debtor, will be deemed as filed only against ION
            Geophysical Corporation.

      e.    Claim Against Multiple Debtor Entities. Each Proof of Claim must state a
            claim against only one Debtor and clearly indicate the Debtor against which
            the claim is asserted. To the extent more than one Debtor is listed on the
            Proof of Claim, such claim may be treated as if filed only against ION
            Geophysical Corporation.

      f.    Supporting Documentation. Each Proof of Claim must include supporting
            documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d).
            If, however, such documentation is voluminous, upon prior written consent
            of the Debtors’ counsel, such Proof of Claim may include a summary of
            such documentation or an explanation as to why such documentation is not
            available; provided that any creditor that received such written consent shall
            be required to transmit such writings to Debtors’ counsel upon request no
            later than 10 days from the date of such request.

      g.    Timely Service. Each Proof of Claim must be filed, including supporting
            documentation, by either (i) electronic submission through PACER (Public
            Access to Court Electronic Records at http://ecf.txsb.uscourts.gov), (ii)
            electronic submission using the interface available on the Claims and
            Administrative Agent’s website at https://dm.epiq11.com/IONGeophysical,
            or (iii) if submitted through non-electronic means, by U.S. Mail or other
            hand delivery system, so as to be actually received by the Claims and
            Administrative Agent on or before the Claims Bar Date or the
            Governmental Bar Date, or other applicable Bar Date, at the following
            addresses:

                                      If by First-Class Mail:
                                ION Geophysical Corporation, et al.
                                     Claims Processing Center
                                 c/o Epiq Corporate Restructuring
                                           P.O. Box 4421



                                      19
      Case
      Case 22-30987
           22-30987 Document
                    Document 205
                             225 Filed
                                 Filed on 05/09/22
                                       in TXSB     in TXSB Page
                                                on 05/09/22 Page 23
                                                                 22 of
                                                                    of 28
                                                                       27




                                                 Beaverton, OR 97076-4421

                                         If by Hand Delivery or Overnight Mail:
                                            ION Geophysical Corporation, et al.
                                                  Claims Processing Center
                                              c/o Epiq Corporate Restructuring
                                                 10300 SW Allen Boulevard
                                                   Beaverton, OR 97005

                h.      Receipt of Sendee. Claimants submitting a Proof of Claim through non-
                        electronic means wishing to receive acknowledgment that their Proofs of
                        Claim were received by the Claims and Administrative Agent must submit
                        (i) a copy of the Proof of Claim Form (in addition to the original Proof of
                        Claim Form sent to the Claims and Administrative Agent), and (ii) a self-
                        addressed, stamped envelope.

V.     CONSEQUENCES OF FAILING TO TIMELY FILE YOUR PROOF OF CLAIM

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you
or any party or entity who is required, but fails, to file a Proof of Claim in accordance with the Bar
Date Order on or before the applicable Bar Date, please be advised that:

                a.      YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED
                        FROM ASSERTING SUCH CLAIM AGAINST THE DEBTORS (OR
                        FILING A PROOF OF CLAIM WITH RESPECT THERETO);

                b.      THE DEBTORS AND THEIR PROPERTY SHALL BE FOREVER
                        DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR
                        LIABILITY WITH RESPECT TO OR ARISING FROM SUCH CLAIM;

                c.      YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE
                        CHAPTER 11 CASES ON ACCOUNT OF THAT CLAIM; AND

                d.      YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OR
                        PLANS OF REORGANIZATION FOR THE DEBTORS ON ACCOUNT
                        OF THESE BARRED CLAIMS OR RECEIVE FURTHER NOTICES
                        REGARDING SUCH CLAIM.

VI.    RESERVATION OF RIGHTS

        Nothing contained in this Notice is intended to or should be construed as a waiver of the
Debtors’ right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim
listed or reflected in the Schedules as to the nature, amount, liability, or classification thereof; (b)
subsequently designate any scheduled claim as disputed, contingent, or unliquidated; and (c)
otherwise amend or supplement the Schedules.




                                                  20
       Case
       Case 22-30987
            22-30987 Document
                     Document 205
                              225 Filed
                                  Filed on 05/09/22
                                        in TXSB     in TXSB Page
                                                 on 05/09/22 Page 24
                                                                  23 of
                                                                     of 28
                                                                        27




VII.   THE DEBTORS’ SCHEDULES AND ACCESS THERETO

        You may be listed as the holder of a claim against one or more of the Debtor entities in the
Schedules. To determine if and how you are listed on the Schedules, please refer to the descriptions
set forth on the enclosed Proof of Claim form(s) regarding the nature, amount, and status of your
claim(s). If the Debtors believe that you may hold claims against more than one Debtor entity, you
will receive multiple Proof of Claim forms, each of which will reflect the nature and amount of
your claim against one Debtor entity, as listed in the Schedules.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that the claim
is accurately listed in the Schedules. However, you may rely on the enclosed form, which sets forth
the amount of your claim (if any) as scheduled, identifies the Debtor entity against which it is
scheduled, specifies whether your claim is listed in the Schedules as disputed, contingent, or
unliquidated, and identifies whether your claim is scheduled as a secured, unsecured priority, or
unsecured non-priority claim.

        As described above, if you agree with the nature, amount, and status of your claim as listed
in the Schedules, and if you do not dispute that your claim is only against the Debtor entity
specified by the Debtors, and if your claim is not described as “disputed,” “contingent,” or
“unliquidated,” you do not need to file a Proof of Claim. Otherwise, or if you decide to file a Proof
of Claim, you must do so before the applicable Bar Date in accordance with the procedures set
forth in this Notice.

VIII. ADDITIONAL INFORMATION

        Copies of the Schedules, the Bar Date Order, and other information regarding these chapter
11 cases are available for inspection free of charge on the Debtors’ website at
https://dm.epiq11.com/IONGeophysical. The Schedules and other filings in these chapter 11 cases
also are available for a fee at the Court’s website at http://ecf.txsb.uscourts.gov. A login
identification and password to the Court’s Public Access to Court Electronic Records (“PACER”)
are required to access this information and can be obtained through the PACER Service Center at
http://www.pacer.psc.uscourts.gov. Copies of the Schedules and other documents filed in these
cases also may be examined between the hours of 8:00 a.m. and 5:00 p.m., prevailing Central
Time, Monday through Friday, at the office of the Clerk of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of Texas, United States Courthouse, 515 Rusk Avenue,
Houston, Texas 77002.

        If you require additional information regarding the filing of a Proof of Claim, you may
contact the Debtors’ restructuring hotline at: (855) 604-1746 (toll free) or +1 (503) 597- 7702
(international).

     A HOLDER OF A POSSIBLE CLAIM AGAINST THE DEBTORS SHOULD
   CONSULT AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY
  THIS NOTICE, SUCH AS WHETHER THE HOLDER SHOULD FILE A PROOF OF
                              CLAIM.




                                                 21
Case
Case 22-30987
     22-30987 Document
              Document 205
                       225 Filed
                           Filed on 05/09/22
                                 in TXSB     in TXSB Page
                                          on 05/09/22 Page 25
                                                           24 of
                                                              of 28
                                                                 27




                              Exhibit 3

                     Proposed Publication Notice
         Case
         Case 22-30987
              22-30987 Document
                       Document 205
                                225 Filed
                                    Filed on 05/09/22
                                          in TXSB     in TXSB Page
                                                   on 05/09/22 Page 26
                                                                    25 of
                                                                       of 28
                                                                          27




                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION
                                                                )
    In re:                                                      )   Chapter 11
                                                                )
    ION GEOPHYSICAL CORPORATION, et al.,1                       )   Case No. 22-30987 (MI)
                                                                )
                           Debtors.                             )   (Joint Administration Requested)
                                                                )   Docket No. ____


                       NOTICE OF DEADLINES FOR THE FILING
                  OF PROOFS OF CLAIM, INCLUDING REQUESTS FOR
             PAYMENTS UNDER SECTION 503(b)(9) OF THE BANKRUPTCY CODE

    THE CLAIMS BAR DATE IS FORTY (40) DAYS AFTER ENTRY OF THE BAR DATE
               ORDER, AT 5:00 P.M. PREVAILING CENTRAL TIME

               THE GOVERNMENTAL CLAIMS BAR DATE IS OCTOBER 10, 2022
                       AT 5:00 P.M. PREVAILING CENTRAL TIME

PLEASE TAKE NOTICE OF THE FOLLOWING:

       Deadlines for Filing Proofs of Claim. On [_____], 2022, the United States Bankruptcy
Court for the Southern District of Texas (the “Court”) entered an order [Docket No. [_____]] (the
“Bar Date Order”) establishing certain deadlines for the filing of proofs of claim, including
requests for payment under section 503(b)(9) of the Bankruptcy Code (collectively, “Proofs of
Claim”), in the chapter 11 cases of the following debtors and debtors in possession (collectively,
the “Debtors”):

                               DEBTOR                                               CASE NO.
         ION Geophysical Corporation                                                22-30987
         I/O Marine Systems, Inc.                                                   22-90029
         ION Exploration Products (U.S.A.), Inc.                                    22-90031
         GX Technology Corporation                                                  22-90030


       The Bar Dates. Pursuant to the Bar Date Order, all entities (except governmental units),
including individuals, partnerships, estates, and trusts that have a claim or potential claim against
the Debtors that arose prior to April 12, 2022, no matter how remote or contingent such right to

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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ION Geophysical Corporation (6646); I/O Marine Systems, Inc. (3230); ION Exploration Products
(U.S.A.), Inc. (1394); and GX Technology Corporation (0115). The location of the Debtors’ service address is 4203
Yoakum Blvd., Suite 100, Houston, Texas 77006.
      Case
      Case 22-30987
           22-30987 Document
                    Document 205
                             225 Filed
                                 Filed on 05/09/22
                                       in TXSB     in TXSB Page
                                                on 05/09/22 Page 27
                                                                 26 of
                                                                    of 28
                                                                       27




payment or equitable remedy may be, including requests for payment under section 503(b)(9) of
the Bankruptcy Code, MUST FILE A PROOF OF CLAIM on or before forty (40) days after entry
of the Bar Date Order, at 5:00 p.m., prevailing Central Time (the “Claims Bar Date”).
Governmental entities that have a claim or potential claim against the Debtors that arose prior to
April 12, 2022, no matter how remote or contingent such right to payment or equitable remedy
may be, MUST FILE A PROOF OF CLAIM on or before October 10, 2022, at 5:00 p.m.,
prevailing Central Time (the “Governmental Bar Date”). All entities holding claims arising from
the Debtors’ rejection of executory contracts and unexpired leases are required to file Proofs of
Claim by the date that is (a) the later of the Claims Bar Date or the Governmental Bar Date, as
applicable, and (b) the date that is thirty (30) days following entry of the order approving the
Debtors’ rejection of the applicable executory contract or unexpired lease (the “Rejection
Damages Bar Date”). All entities holding claims affected by an amendment to the Debtors’
schedules of liabilities filed in these cases (the “Schedules”) are required to file Proofs of Claim
by the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable, and (b)
5:00 p.m, prevailing Central Time, on the date that is thirty (30) days from the date on which
the Debtors mail notice of the amendment to the Schedules (the “Amended Schedules Bar
Date”).

ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM, INCLUDING
ANY REQUEST FOR PAYMENT UNDER SECTION 503(B)(9) OF THE BANKRUPTCY
CODE ON OR BEFORE THE CLAIMS BAR DATE OR THE GOVERNMENTAL BAR
DATE, AS APPLICABLE, SHALL NOT BE TREATED AS A CREDITOR WITH
RESPECT TO SUCH CLAIM FOR THE PURPOSES OF VOTING AND DISTRIBUTION
ON ANY CHAPTER 11 PLAN.

        Filing a Proof of Claim. Each Proof of Claim must be filed, including supporting
documentation, by either (1) electronic submission through PACER (Public Access to Court
Electronic Records at http://ecf.txsb.uscourts.gov), (2) electronic submission using the interface
available     on     the      Claims      and     Administrative       Agent’s     website      at
https://dm.epiq11.com/IONGeophysical, or (3) if submitted through non-electronic means, by
U.S. Mail or other hand delivery system, so as to be actually received by the Claims and
Administrative Agent on or before the Claims Bar Date or the Governmental Bar Date, or any
other applicable Bar Date, at the following addresses:

                                     If by First-Class Mail:
                               ION Geophysical Corporation, et al.
                                    Claims Processing Center
                                c/o Epiq Corporate Restructuring
                                          P.O. Box 4421
                                   Beaverton, OR 97076-4421

                               If by Hand Delivery or Overnight:
                               ION Geophysical Corporation, et al.
                                     Claims Processing Center
                                 c/o Epiq Corporate Restructuring
                                    10300 SW Allen Boulevard



                                                 2
      Case
      Case 22-30987
           22-30987 Document
                    Document 205
                             225 Filed
                                 Filed on 05/09/22
                                       in TXSB     in TXSB Page
                                                on 05/09/22 Page 28
                                                                 27 of
                                                                    of 28
                                                                       27




                                       Beaverton, OR 97005

        Contents of Proofs of Claim. Each Proof of Claim must: (1) be written in legible English;
(2) include a claim amount denominated in United States dollars; (3) clearly identify the Debtor
against which the claim is asserted; (4) conform substantially with the Proof of Claim form
provided by the Debtors or Official Form 410; (5) be signed by the claimant or by an authorized
agent or legal representative of the claimant on behalf of the claimant, whether such signature is
an electronic signature or is ink; and (6) include as attachments any and all supporting
documentation on which the claim is based. Please note that each Proof of Claim must state a
claim against only one Debtor and clearly indicate the specific Debtor against which the claim is
asserted. To the extent more than one Debtor is listed on the Proof of Claim, a Proof of Claim is
treated as if filed only against ION Geophysical Corporation, or if a Proof of Claim is otherwise
filed without identifying a specific Debtor, the Proof of Claim may be deemed as filed only against
ION Geophysical Corporation.

        Electronic Signatures Permitted. Proofs of Claim signed electronically by the claimant
or an authorized agent or legal representative of the claimant may be deemed acceptable for
purposes of claims administration. Copies of Proofs of Claim, or Proofs of Claim sent by facsimile
or electronic mail will not be accepted. Unless otherwise ordered by the Court, any original
document containing the original signature of any party other than the party that files the Proof of
Claim shall be retained by the filing party for a period of not less than 5 years after the Debtors’
cases are closed, and upon request, such original document must be provided to the Court or other
parties for review, pursuant to the Administrative Procedures for the Filing, Signing, and Verifying
of Documents by Electronic Means in Texas Bankruptcy Courts.

        Section 503(b)(9) Requests for Payment. Any Proof of Claim that asserts a right to
payment arising under section 503(b)(9) of the Bankruptcy Code must also: (1) include the value
of the goods delivered to and received by the Debtors in the 20 days prior to the Petition Date; (2)
attach any documentation identifying the particular invoices for which such 503(b)(9) claim is
being asserted; and (3) attach documentation of any reclamation demand made to the Debtors
under section 546(c) of the Bankruptcy Code (if applicable).

        Additional Information. If you have any questions regarding the claims process and/or
you wish to obtain a copy of the Bar Date Notice, a proof of claim form or related documents you
may do so by: (1) calling the Debtors’ restructuring hotline at (855) 604-1746 (toll free) or +1
(503) 597- 7702 (international); and/or (2) visiting the Debtors’ restructuring website at:
https://dm.epiq11.com/IONGeophysical.




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